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 101-7-NFR
 /2009
 /2010
 2ems Inc.
                                                        UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF MASSACHUSETTS
                                                                EASTERN DIVISION

                  In Re:                                            §
                                                                    §
                  Andre Bisasor                                     §     Case No. 15-13369
                                                                    §
                                      Debtor                        §

                                                    NOTICE OF TRUSTEE’S FINAL REPORT AND
                                                      APPLICATIONS FOR COMPENSATION
                                                        AND DEADLINE TO OBJECT (NFR)

                           Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that JOHN J.
                  AQUINO, TRUSTEE, trustee of the above styled estate, has filed a Final Report and the trustee and the
                  trustee’s professionals have filed final fee applications, which are summarized in the attached Summary
                  of Trustee's Final Report and Applications for Compensation.

                          The complete Final Report and all applications for compensation are available for inspection at
                  the Office of the Clerk, at the following address:
                                                 5 Post Office Square, Suite 1150
                                                 Boston, MA 02109-3945
                          Any person wishing to object to any fee application that has not already been approved or
                  to the Final Report, must file a written objection within days from the mailing of this notice,
                  together with a request for a hearing and serve a copy of both upon the trustee, any party whose
                  application is being challenged and the United States Trustee. If no objections are filed, the Court
                  will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009 without
                  further order of the Court.

                  Date Mailed:                                          By:


                  John J. Aquino, Trustee
                  Anderson Aquino LLP
                  240 Lewis Wharf
                  Boston, MA 02110




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                                              UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF MASSACHUSETTS
                                                      EASTERN DIVISION


      In Re:                                                                §
                                                                            §
      Andre Bisasor                                                         §         Case No. 15-13369
                                                                            §
                             Debtor                                         §

                                             SUMMARY OF TRUSTEE'S FINAL REPORT
                                             AND APPLICATIONS FOR COMPENSATION


                   The Final Report shows receipts of                                                                 $                     20,002.08
                   and approved disbursements of                                                                      $                     12,941.87
                                                            1
                   leaving a balance on hand of                                                                       $                       7,060.21


                 Claims of secured creditors will be paid as follows:


                                                                                 NONE


                 Applications for chapter 7 fees and administrative expenses have been filed as follows:

                                                                                                     Interim Payment             Proposed
                            Reason/Applicant                             Total Requested             to Date                     Payment
       Trustee Fees: John J. Aquino                                     $             1,477.71 $                          0.00 $                879.76
       Trustee Expenses: John J. Aquino                                 $               112.08 $                          0.00 $                    66.73
       Attorney for Trustee Fees: ANDERSON
       AQUINO LLP                                                       $           10,269.00 $                           0.00 $              6,113.72
                   Total to be paid for chapter 7 administrative expenses                                             $                       7,060.21
                   Remaining Balance                                                                                  $                              0.00


                 Applications for prior chapter fees and administrative expenses have been filed as follows:




____________________
           1
              The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement
will be distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the
maximum compensation set forth under 11 U.S.C. §326(a) on account of the disbursement of the additional interest.

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                                                                            Interim Payment to
                        Reason/Applicant                 Total Requested    Date               Proposed Payment
         Other Prior Chapter Professional Fees:
         David G Baker                                   $        1,400.00 $                0.00 $          0.00
                Total to be paid for prior chapter administrative expenses              $                   0.00
                Remaining Balance                                                       $                   0.00


              In addition to the expenses of administration listed above as may be allowed by the Court,
     priority claims totaling $ 7,726.53 must be paid in advance of any dividend to general (unsecured)
     creditors.

                 Allowed priority claims are:

                                                   Allowed Amount          Interim Payment to
     Claim No.          Claimant                   of Claim                Date               Proposed Payment
                        MASSACHUSETTS
                        DEPARTMENT OF
     2                  REVENUE                   $           7,726.53 $               0.00 $               0.00
                Total to be paid to priority creditors                                  $                   0.00
                Remaining Balance                                                       $                   0.00


             The actual distribution to wage claimants included above, if any, will be the proposed payment
     less applicable withholding taxes (which will be remitted to the appropriate taxing authorities).

             Timely claims of general (unsecured) creditors totaling $ 362,530.00 have been allowed and
     will be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
     timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Timely allowed general (unsecured) claims are as follows:

                                                   Allowed Amount          Interim Payment to
     Claim No.          Claimant                   of Claim                Date               Proposed Payment
     1                  Cavalry Investments, Llc $              799.06 $               0.00 $               0.00
     3                  Oral Roberts University $             2,529.18 $               0.00 $               0.00
                        Portfolio Recovery
     4                  Associates, LLC           $             322.13 $               0.00 $               0.00
                        Portfolio Recovery
     5                  Associates, LLC           $             819.09 $               0.00 $               0.00




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                                                  Allowed Amount         Interim Payment to
     Claim No.          Claimant                  of Claim               Date               Proposed Payment
                        Midland Credit
                        Management Inc As
     6                  Agent For               $           2,946.68 $               0.00 $                 0.00
                        Midland Credit
                        Management Inc As
     7                  Agent For               $           1,372.68 $               0.00 $                 0.00
                        Midland Credit
                        Management Inc As
     8                  Agent For               $             576.68 $               0.00 $                 0.00
     9                  Nstar Electric          $           1,443.35 $               0.00 $                 0.00
                        American Infosource Lp
     10                 As Agent For           $              524.76 $               0.00 $                 0.00
                        Navient Solutions, Inc.
     11                 On Behalf Of Dpt Of Ed $         348,093.29 $                0.00 $                 0.00
     12                 Capital One, N.A.       $           1,790.04 $               0.00 $                 0.00
                        Portfolio Recovery
     13                 Associates, LLC         $           1,313.06 $               0.00 $                 0.00
                Total to be paid to timely general unsecured creditors                $                     0.00
                Remaining Balance                                                     $                     0.00


             Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been allowed and will
     be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured) claims
     have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus interest (if
     applicable).

                 Tardily filed general (unsecured) claims are as follows:


                                                            NONE


            Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims ordered
     subordinated by the Court totaling $ 0.00 have been allowed and will be paid pro rata only after all
     allowed administrative, priority and general (unsecured) claims have been paid in full. The dividend for
     subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if applicable).

            Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims ordered
     subordinated by the Court are as follows:




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                                                          NONE


                                            Prepared By: /s/ John J. Aquino Trustee
                                                                               Trustee


     John J. Aquino, Trustee
     Anderson Aquino LLP
     240 Lewis Wharf
     Boston, MA 02110


     STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
     Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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